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                       [English Translation for Reference Purposes Only]
                                                                               November 16, 2021

 To whom it may concern:

                                                      Rehabilitation Debtor: MtGox Co., Ltd.
                                                      Rehabilitation Trustee: Nobuaki Kobayashi,
                                                      Attorney-at-law

    Notice of Confirmation Order of Rehabilitation Plan becoming Final and Binding

    As we announced in the “Notice of Confirmation Order of Rehabilitation Plan” on October
 20, 2021, the Draft Rehabilitation Plan (the “Draft Rehabilitation Plan”) filed by the
 Rehabilitation Trustee with the Tokyo District Court on February 15, 2021 was (i) approved by
 a large majority of rehabilitation creditors (hereinafter, the Draft Rehabilitation Plan approved
 by the rehabilitation creditors is referred to as the “Rehabilitation Plan”) on October 20, 2021,
 and (ii) on the same date, the Tokyo District Court made a confirmation order of the
 Rehabilitation Plan. Further, on November 16, 2021, the Rehabilitation Plan became final and
 binding.
    The Rehabilitation Trustee would like to express sincere gratitude to all involved parties for
 their understanding and support, which led to the Rehabilitation Plan becoming final and
 binding.

    The Rehabilitation Trustee will then make repayments to rehabilitation creditors holding
 allowed rehabilitation claims in accordance with the Rehabilitation Plan. An announcement will
 be made to rehabilitation creditors on the details of the specific timing, procedures, and amount
 of such repayments.

    The Rehabilitation Trustee will request all the rehabilitation creditors to register their bank
 account information and other information on MtGox’s Online filing system (online system)
 (“the System”) in order for them to receive repayments. Accordingly, rehabilitation creditors
 unable to log in to the System (URL (1) below) may encounter difficulties in receiving
 repayments in accordance with the Rehabilitation Plan.

    Therefore, rehabilitation creditors who have not registered on the System or have
 forgotten their passwords and cannot log in to the System must obtain the Creditor Code
 required for initial registration/re-registration on the System by clicking on URL (2) below,
 and complete the initial registration/re-registration on the System by clicking on URL (3)
 below.
    However, please note that self-approved creditors with the creditor numbers beginning with
 Z2 are not eligible for initial registration on the System at this stage. The Rehabilitation Trustee
 will expand the scope of creditors eligible to register on the System in phases and
 announcements will be made accordingly. Once an announcement has been made that your
 creditor number is eligible for registration, please apply to obtain your creditor code which is
 necessary to register on the System.

   (1)   the System Login Page:
         https://claims.mtgox.com/

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   (2)   the Online Request Page for the Creditor Code required for the initial registration/
         re-registration on the System:
         https://claims.mtgox.com/pre-signup

   (3)   the Initial Registration/Re-registration Page:
         https://claims.mtgox.com/signup

    For the steps on how to initially register/re-register on the System, please refer to the
 following URL (“How to register/re-register for Online System”):
   https://www.mtgox.com/img/pdf/20211006_000_announcement_en.pdf

    Please click on the URL below to access frequently asked questions (FAQ) regarding the
 initial registration or re-registration on the System. If the FAQ does not address your questions,
 please make inquiries via the inquiry form in the FAQ.
   https://claims.mtgox.com/faq

   Please note that we may not be able to reply timely due to the large number of inquiries we
 may receive via the inquiry form.
   Please note that we cannot respond to direct inquiries or e-mail inquiries to the Rehabilitation
 Trustee’s office or the Rehabilitation Trustee.

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